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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

IONA EZELL,

            Plaintiff,                          Case No. 20-cv-12642

v.                                              Paul D. Borman
                                                United States District Judge

COMMISSIONER OF                                 Kimberly G. Altman
SOCIAL SECURITY,                                United States Magistrate Judge

            Defendant.

________________________/

                             ORDER
           (1) ADOPTING MAGISTRATE JUDGE ALTMAN’S
FEBRUARY 18, 2022 REPORT AND RECOMMENDATION (ECF NO. 23),
    (2) GRANTING IN PART PLAINTIFF’S MOTION FOR SUMMARY
  JUDGMENT TO THE EXTENT IT SEEKS, IN THE ALTERNATIVE, A
                      REMAND (ECF NO. 14),
  (3) DENYING DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
                        (ECF NO. 20), AND
 (4) REMANDING FOR FURTHER PROCEEDINGS UNDER SENTENCE
                     FOUR OF 42 U.S.C. § 405(g)

      On February 18, 2022, Magistrate Judge Kimberly G. Altman issued a Report

and Recommendation to GRANT IN PART Plaintiff’s Motion for Summary

Judgment to the extent it seeks, in the alternative, a remand, DENY Defendant’s

Motion for Summary Judgment, and REMAND the matter for further administrative

proceedings. (ECF No. 23, Report and Recommendation.)
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      Having reviewed the Report and Recommendation, and there being no timely

objections under 28 U.S.C. § 636(b)(1) and E.D. Mich. L.R. 72.1(d), the Court

ADOPTS the Report and Recommendation (ECF No. 23), GRANTS IN PART

Plaintiff’s Motion for Summary Judgment to the extent it seeks, in the alternative, a

remand (ECF No. 14), DENIES Defendant’s Motion for Summary Judgment (ECF

No. 20), and REMANDS the matter for further proceedings under Sentence Four of

42 U.S.C. § 405(g), consistent with Magistrate Judge Altman’s analysis in her

February 18, 2022 Report and Recommendation.

IT IS SO ORDERED.

                                             s/Paul D. Borman
                                             Paul D. Borman
                                             United States District Judge

Dated: March 7, 2022




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